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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10                               EASTERN DIVISION
11   DEBRA JEAN ALLEN,            )           No. 5:19-cv-00688-JDE
                                  )
12                                )
                      Plaintiff,  )           ORDER AWARDING ATTORNEY
13                                )
                   v.             )           FEES UNDER THE EQUAL
14                                )           ACCESS TO JUSTICE ACT,
     ANDREW SAUL, Commissioner of )
                                  )
                                              28 U.S.C. § 2412(d)
15   Social Security,
                                  )
                                  )
16                    Defendant.  )
                                  )
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           Based upon the parties’ Stipulation (Dkt. 24), IT IS ORDERED that
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     Plaintiff shall be awarded attorney’s fees of $3,500.00 under 28 U.S.C. §
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     2412(d), subject to the terms of the above-referenced Stipulation.
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22   Dated: October 16, 2020
23                                              ______________________________
24                                              JOHN D. EARLY
                                                United States Magistrate Judge
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